Case 24-50792-hlb Doc 935 Entered 12/17/24 16:28:03 Page 1 of 4.

NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

Name of Debtor: Case Number:

META MATERIALS, INC 24 ~ 57a

1, Name and address of holder of the Equity Interest (the person or entity

holding an Equity Interest in the Debtor, Referred to hereinafter as the O Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to
your interest, Attach copy of statement
S Cun Rh o giving particulars.

RECEIVED
4 Pav. Ave } A pt 649, Ha cken Sack 5 Ht Check box if you have never received AND FILED

any notices ftom the bankruptcy courlor

NLT ) 0760.1 the Debtors in this case. DEC 16 9024

O Check box if this address differs from

Telephone Number: Lg Y- #4 Q_ | iy 27 the address on the envelope sent to you bt §, BANKRUPTCY COURT

the Debtors.

NOTE: This form SHOULD NOT be used to make a claim against the Debtor fur money owed, A separate Proof of Claim
form should be used for that purpose. This form should only be used to assert au Equity Interest in the Debtor. An Equity
Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code as (a) a share in a corporation whether or not transferable or denominated stock or similar

COURT USE GNLY
security, (b) interest of s limited partner in a limited partnership, or (c) warrant or right other than a Tight to convert, to
purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or (b) herein,
Account or other number by which Interest holder identifies Debtor: Check here if this claim:
O replaces a previously filed Proof of Interest dated:
3 5 6 q _ 2 5 7 & 0) amends a previously filed Proof of Interestdatcd:
2. Nameand Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Sooan Bi this Proof of Interest: 6/4 2{ fae2l - 465 Shares P| ease See
a ° b 6[22f 2021 — £15 Snares | attached
Charles Schwa 6124( 2021 — [Po shares ket
Telephone Number: \— $77- B14 _ [Yo3 7/ Ef 202k “£75 Shares documen dio"
4, Total amount of member interest: | 4 Shave or $ \é, 031.20 5. Certificate numberfs):

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
Check this box if your Equity Interest is based on an actual member interest held in the Debtor,
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description: WV C3 tor

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc,
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain, If the documents are voluminous, attach a summary,

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.
5. Signature:
Check the appropriate box.
@ Jam thecreditor, © Tam the creditor’s authorized agent. C Lam the trustee, or the debtor, C Jam a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)

(See Bankruptcy Rule 3004.)
I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Ss Cans Rho

Print Name: _ZE

Title: .

Company:__ Address and telephone number (if different from notice ag / 2- (2 — 2024
addressabove):

(Signature) a (Date)

Telephone number: pu 844 - (427 email: yy hy 0§822G) gmail ca

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571

MARY A. SCHOTT, CLERK
Case 24-50792-hlb Doc 935 Entered 12/17/24 16:28:03 Page 2 of 4
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Summary Balances Positions Realized Gain/Loss I[nvestmentIncome Portfolio Performance Securities Lending Corporate Actions Transaction History

Statements & Tax Forms OpenAnAccount Relationship Summary

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Summary Balances Positions Realized Gain/Loss Investmentincome Portfolio Performance Securities Lending Corporate Actions Transaction History
Statements & Tax Forms OpenAnAccount Relationship Summary
Transaction H ISto ry Updated: 09:43:32 PM ET, 12/11/2024 (C!Refresh @)Help 4, Export & Pr
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Date range Symbol (Optional)
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= Filter by Transaction Types
Transactions found from 12/11/2020 toa 12/11/2024
Don't see it here? Go to Statements
Date + Action Symbol / Description Quantity Price Fees & Comm Amount
06/28/2021 Journaled Shares TRCH 1,260
TDA TRAN - MANDATORY REVERSE SPLIT (TRCH)
06/24/2021 Buy TRCH 180 $5.74 -$1,033.20
Trade Details TDA TRAN - Bought _..180 (TRCH) @5.7400
06/22/2021 Buy TRGH 615 $8.15 ~$5,012.25
Trade Details TDA TRAN - Bought ...615 (TRCH) @8.1500
06/21/2021 Buy TRCH 465 $10.75 -$4,998.75
Trade Details TDA TRAN - Bougnt ...465 (TRCH) @10.7500
Page Total: -$17,044.20
| DJIA NASDAQ S&P 500 Russell 2000 Time (ET)

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Case 24-50792-hlb Doc 935 Entered 12/17/24 16:28:03 Page 4 of 4
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Summary Balances Positions Realized GainfLess Investmentincome Portfolio Performance Securities Lending Corporate Actions Transaction History

Statements & Tax Forms Open AnAccount Relationship Summary

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Date range Symbol (Opticnal)

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= Filter by Transaction Types

Transactions found from 12/11/2020 to 12/71/2024
Don't see it here? Go lo Statements

Date ¥ Action Symbal / Description Quantity Price Fees & Camm Amount
04/29/2024 Reverse Split MMAT 14
META MATLS INC
09/05/2023 Journated Shares MMAT -1,305
TDA TRAN - TRANSFER OF SECURITY OR OPTION OLIT (MMAT)
09/05/2023 Internal Transfer MMAT 1,305
META MATLS INC
07/06/2021 Buy MMAT 675 $7.40 ~$4,995.00
Trade Details TDA TRAN ~- Bought ...675 (MMAT} @7.4000
06/28/2021 Journaled Shares MMAT 630

TDA TRAN - MANDATORY REVERSE SPLIT (MMAT)
Page Total: -$4,995.00

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